        Case 25-03382 Document 13 Filed in TXSB on 07/02/25 Page 1 of 3




                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

 DUSTIN ETTER                                 §
                                              §
 v.                                           §      Adversary Case No. 25-03382
                                              §
 JEROD P. FURR, et al.                        §

            PLAINTIFF’S RESPONSE TO TRUSTEE’S MOTION TO ABATE

       Plaintiff Dustin Etter files this Response to Trustee’s Motion [to Abate] (Doc. 11).

       1.     Plaintiff is unopposed to extending or abating deadlines applicable to the

Trustee. And like the Trustee, Plaintiff is hopeful that the parties may be able to resolve

issues regarding obtaining and exchanging documents which may in turn resolve

Plaintiff’s immediate concerns. However, Plaintiff opposes a total abatement, particularly

as to limited discovery which should not require significant involvement from the Trustee.

       2.     Defendant Mr. Furr has treated the funds and other assets of the Debtors

and of Debtors’ non-bankrupt affiliates including AE Partners Holdings, Inc. (“AEPH”) and

Invictus Drilling Motors, LLC (“Invictus”) as a once-in-a-lifetime windfall that he has rapidly

spent on lavish lifestyle expenses or transferred to himself. This includes hundreds of

thousands of dollars since this litigation was originally filed in July 2024 and significant

sums even since the bankruptcy was filed in January 2025. There is nothing to show that

this pattern has stopped. In fact, Defendant Mr. Furr’s counsel has not responded to and

implicitly rejected the following proposal to go with an agreed abatement:

       From 5/1/2025 through 10/1/2025, Jerod Furr and Corrina Furr have not
       and will not spend, dispose of, or transfer—other than to the Trustee or as
       authorized by an order of the bankruptcy court—any funds which either of
       them directly or indirectly received from Alliance Farm & Ranch, LLC,
       Alliance Energy Partners, LLC, Invictus Drilling Motors, LLC, or AE Partners
       Holdings, Inc.



                                            1 of 3
        Case 25-03382 Document 13 Filed in TXSB on 07/02/25 Page 2 of 3




       3.     Plaintiff has information and belief that Defendant Mr. Furr will not agree to

this because he has continued to fund his unsustainably-lavish lifestyle—a lifestyle he

only adopted around 2021 after AEP first received significant payments that Defendant

Mr. Furr then started spending—primarily from the remnants of what he misappropriated

from the Debtors and their non-bankrupt affiliates rather than from his current income.

Because the funds that Defendant Mr. Furr has been able to extract from the Debtors and

their non-bankrupt affiliates are likely a once-in-a-lifetime windfall, it is likely that once

Defendant Mr. Furr manages to spend the money, either it will not be collectable or will

only be collectable through a payment plan over an extended period of time.

       4.     Furthermore, since the time this litigation was in state court, Defendant Mr.

Furr has engaged in a repetitive pattern of resisting and delaying providing information

about funds misappropriated from the business of Debtor AEP and its non-bankrupt

affiliates to give himself time to transfer and spend the funds. It just needs to stop.

       5.     While Plaintiff appreciates the Trustee’s concerns about costs to the

Debtors and common deadlines, those concerns can be addressed using means other

than delaying the production of documents which will likely show that Defendant Mr. Furr

has recently spent funds of the Debtors and their non-bankrupt affiliates and likely

continues to do so. The Trustee’s desire for more time to evaluate this litigation and Mr.

Etter’s desire to more quickly obtain information about recent movements of funds in

dispute are not mutually exclusive and can and should both be satisfied.

                                          PRAYER

       Plaintiff requests and prays that the Trustee’s Motion be granted only in part and

for such other and further relief to which Plaintiff may be justly entitled.




                                            2 of 3
        Case 25-03382 Document 13 Filed in TXSB on 07/02/25 Page 3 of 3




                                          Respectfully submitted,

                                          IRELAN STEPHENS, PLLC

                                               /s/ Noah Meek
                                          By:______________________________
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                                          ATTORNEYS FOR PLAINTIFF
                                          DUSTIN ETTER




                               CERTIFICATE OF SERVICE

      This is to certify that on July 2, 2025, a true and correct copy of this instrument was
served upon all parties in compliance with the Federal Rules of Bankruptcy Procedure.
                                                     /s/ Noah Meek
                                                    _____________________________
                                                    Noah Meek




                                           3 of 3
